Case 2:04-cr-20456-.]DB Document 57 Filed 04/26/05 Page 1 of 2 Page|D 64

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IN THE UNITED s'rA'rEs DISTRICT corner
FoR THE wEsTERN nrs'rn:cc'r oF TENNESSEE
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DOF TN, vlewPHrs

UNITED STATES OF AMERICA,
Plaintiff,
VS. CR. NO. 04-20456~02-B

Ritalinda Ricks

,`,`,`._,`,_-_.__,..

Defendant.

 

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AND SETTING

 

This cause came to he heard on April 25, 2005, the United States Attorney
for this district, Rae Oliver, appearing for the Government and the defendant,
Ritalinda Ricks, appearing in, person and with counselr Edwin Perry, who
represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count 2 of the Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for TUESDAY, AUGUST 2, 2005, at
9:00 A.M., in Courtroom No. 1, on the llth floor before Judge J. Daniel Breen.

Defendant is allowed to remain released on present bond.

. 251 .
ENTERED this the day of April, 2005.

/Ma

J. DANIEL\BREEN
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This notice confirms a copy of the document docketed as number 57 in
case 2:04-CR-20456 Was distributed by faX, mail, or direct printing on
April 26, 2005 to the parties listed.

 

 

EdWin A. Perry

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Honorable J. Breen
US DISTRICT COURT

